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FILED

June 8, 2020 IN CLERKS OFFICE
The H ble M L. Wolf .
U.S. District Judge 2020 JUN 1 PI 12: 30

John Joseph Moakley U.S. Courthouse
1 Courthouse Way
Boston, MA. 02210

S. DISTRICT COURT
USISTRICT OF MASS.

Robinson Guzman

Reg. No. 01466-138

Wyatt Detention Facility
950 High Street

Central Falls, RI. 02863

RE: USA v. ROBINSON GUZMAN
Docket Number 1:19-cr-10121-MLW

 

Dear Judge Wolf,

I am the defendant in the above-referenced matter and am presently
represented by Leonard Milligan, III. Unfortunately, I have contracted
COVID 19 while incarcerated at Wyatt and have notified my attorney

that I would like to pursue bond as I suffer from hypertension. This
pre-exisitng condition is one that the CDC mentions in their guidelines
of people that have a greater likeliness of complications from the
virus. That said, if my attorney does not request a bond hearing,

I would ask that you schedule one.

I appreciate any consideration the Court may offer.

Sincerely,

ok aden Ge

obinson Guzman
